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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA
                              Criminal No. 21-192 (JRT)

 UNITED STATES OF AMERICA,

                      Plaintiff,
                                                 GOVERNMENT’S POSITION
        v.                                       REGARDING SENTENCING

 JEROME LEE SWANSON,

                      Defendant.


       The United States by its attorneys, Andrew M. Luger, United States Attorney for

the District of Minnesota, and David P. Steinkamp, Assistant United States Attorney,

hereby submits its Position Regarding Sentencing in the above-entitled matter.

1.     SENTENCING GUIDELINES.

       A.      Base Offense Level.

       The government agrees with the conclusion of the Pre-Sentence Report (PSR) that

the base offense level for Count 1 of the Indictment is 20. The government agrees that the

penalty for Count 2 is 84 months’ consecutive to Count 2.

       B.      Specific Offense Characteristics.

       The government agrees with the conclusion of the PSR that a 4-level increase of the

base offense level is warranted because the Defendant caused serious bodily injury to the

victim. In addition, the government concurs that a 2-level increase is warranted because

the offense involved carjacking, resulting in a total offense level of 26. The government

agrees no other specific offense characteristics are applicable.
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2.     ACCEPTANCE OF RESPONSIBILITY.

       The government agrees that a 3-level reduction for acceptance of responsibility is

warranted, as long as Defendant continues to accept responsibility for his crimes, reducing

the offense level for Count 1 to level 23.

3.     CRIMINAL HISTORY.

       The government does not concur in the conclusion of the PSR that the Defendant

falls within criminal history category III. The government urges the Court to find that the

3 points the Defendant received for juvenile adjudications overstates his criminal history

category. The Defendant is more appropriately placed in category II, especially given his

young age when he committed the offense.

4.     CONSECUTIVE SENTENCE FOR COUNT 2.

       The government agrees with the PSR that the applicable sentence for Count 2 is a

mandatory minimum term of 84 months, to be imposed consecutively to any sentence

imposed for Count 1.

5.     APPLICABLE GUIDELINE RANGE.

       With a total offense level of 23 and a criminal history category of II, the government

recommends that the Court find the guideline range for Count 1 to be 51-63 months’

imprisonment. Applying the mandatory minimum consecutive sentence of 84 months

increases the total guideline range to 135 - 147 months’ imprisonment. Pursuant to the plea

agreement, the government recommends a sentence of 54 months for Count 1, and a total

sentence of 138 months.



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6.     SENTENCING FACTORS.

       Under 18 U.S.C. 3553(a), when determining the ultimate sentence, the Court looks

to the nature and circumstances of the offense; the history and characteristics of the

defendant; the seriousness of the offense; the need to promote respect for the law; the need

to provide adequate deterrence and protection of the public; providing the defendant with

needed educational training, vocational training, medical care, or other correctional

treatment in the most effective manner; the kinds of sentences available; and the applicable

guideline sentencing range. 18 U.S.C. 3553(a).

       A.      A Variance Below 138 Months is Not Warranted.

       The Court should reject the Defendant’s request for a variance below 138 months

imprisonment. To accept such an argument does not hold the Defendant accountable for

the gravity of the crime. A sentence of 138 months is sufficient, but not greater than

necessary, to achieve the goals of sentencing.

       B.      The History and Characteristics of the Defendant Warrants a 138-
               Month Sentence.

       The Defendant does not have a serious prior criminal history. This will be his first

stint in prison. The government recognized this and entered into a plea agreement reducing

the mandatory consecutive sentence from 120 months to 84 months.

       C.      The Nature of the Offense and the Need to Protect the Public Also
               Warrants a 138-Month Sentence.

       There is no question that the Defendant’s acts were serious and dangerous. He

carjacked a good Samaritan who offered him a ride, shot the man and then nearly ran over

him when he fled with the victim’s car. A significant sentence is warranted to protect the

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public and deter the Defendant from similar conduct in the future.          Based on the

Defendant’s individual characteristics, under the unique facts and circumstances of this

case, and acknowledging the plea agreement and concession by the government, a sentence

of 138 months is sufficient, but not greater than necessary, to achieve the goals of

sentencing in this matter.

7.     RESTITUTION.

       As of the time of this writing, no requests for restitution have been made. However,

if they are, the government requests that the Court grant them.

8.     SUPERVISED RELEASE.

       The government requests a supervised release term of 5 years.


Dated: October 25, 2021
                                                 Respectfully Submitted,

                                                 ANDREW M. LUGER
                                                 United States Attorney

                                                 s/ David P. Steinkamp

                                                 BY: DAVID P. STEINKAMP
                                                 Assistant U.S. Attorney
                                                 Attorney ID No. 178470




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